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                              United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

   WANDA L. BOWLING                               §
                                                  §   Civil Action No. 4:18-CV-610
   v.                                             §   (Judge Mazzant/Judge Nowak)
                                                  §
   LESTER JOHN DAHLHEIMER, JR., ET                §
   AL.                                            §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On December 23, 2020, the report of the Magistrate Judge (Dkt. #191) was entered containing

  proposed findings of fact and recommendations that Plaintiff Wanda L. Bowling’s Second Motion

  to Supplement the Record on Appeal (Dkt. #189) be denied.

         Having received the report of the United States Magistrate Judge, and no objections thereto

  having been timely filed, the Court is of the opinion that the findings and conclusions of the

  Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

. conclusions of the Court.

         It is therefore ORDERED that Plaintiff Wanda L. Bowling’s Second Motion to

  Supplement the Record on Appeal (Dkt. #189) is DENIED.

         IT IS SO ORDERED.
          SIGNED this 11th day of January, 2021.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
